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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA, §
Plaintiff, § CRIMINAL NO. H-07-452 S
v. §
§
ALI HOZHABRI, §
Defendant.
PLEA AGREEMENT

The United States of America, by and through Steven A. Tyrrell, Chief of
the Fraud Section, Criminal Division, United States Department of Justice, and
Nicola J. Mrazek, Trial Attorney, and the defendant, Ali Hozhabri, and the
defendant’s counsel, Philip H. Hilder, pursuant to Rules ll(c)(l)(A) and
ll(c)(l)(B) of the Federal Rules of Criminal Procedure, state that they have
entered into an agreement, the terms and conditions of Which are as folloWs:

The Defendant’s Agreement

l. The defendant agrees to plead guilty to Count One of the Criminal
Superseding Information filed With this agreement, Which charges defendant With
conspiracy to violate the laws of the United States in violation of Title 18, United
States Code, Section 371. The defendant, by entering this plea, agrees that he is

Waiving indictment on this charge and any right to have the facts that the law

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makes essential to the punishment charged in the Superseding Information proved
to a jury or proved beyond a reasonable doubt.
Punishment Range

2. The statutory maximum penalty for a violation of Title 18, United
States Code, Section 371 is imprisonment of not more than 5 years and a fme of
not more than $250,000, or twice any pecuniary gain to the defendant or loss to the
victim(s), whichever is greater Additionally, the defendant may receive a term of
supervised release after imprisonment of up to three years. Title 18, U.S.C.,
Sections 3559(a)(4) and 3583(b)(2).

3. The defendant acknowledges and understands that if he should
violate the conditions of any period of supervised release which may be imposed as
part of his sentence, then defendant may be imprisoned for the entire term of
supervised release without credit for time already served on the term of supervised
release prior to such violation. Title 18, U.S.C. Section 35 83(e)(3). The defendant
understands that he cannot have the imposition or execution of the sentence
suspended, nor is he eligible for parole.

Mandatory Special Assessment
4. Pursuant to Title 18, U.S.C., Section 3013(a)(2)(A), immediately after

sentencing, the defendant will pay to the Clerk of the United States District Court

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a special assessment in the amount of one hundred dollars ($100.00) per count of
conviction. The payment will be by cashier’s check or money order payable to the
Clerk of the United States District Court, c/o District Clerk’s Office, P.O. Box
6101(), Houston, Texas 77208, Attention: Finance.

Restitution, Forfeiture, and Fines

5. This plea agreement is being entered into by the United States on the
basis of defendant’s express representation that the defendant will make a full and
complete disclosure of all assets over which defendant exercises direct or indirect
control, or in which defendant has any financial interest.

6. The defendant agrees to make complete financial disclosure to the
United States by truthfully executing a sworn financial statement by the deadline
set by the United States, or if no deadline is set, no later than sentencing
Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not limited to, executing authorization forms for
the United States to obtain tax information, bank account records, credit history,
and social security information Defendant agrees to discuss or answer any
questions by the United States relating to the defendant’s complete financial

disclosure.

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7. The defendant agrees to pay restitution to the victims regardless of the
counts of conviction. Defendant stipulates and agrees that as a result of his
criminal conduct his employer incurred a monetary loss. Defendant understands
that the Court will determine the amount of full restitution to compensate all
victims.

8. Immediately upon entering his plea of guilty, the defendant agrees to
deposit $34,478.86 with the registry of the court, c/o the United States Clerk’s
Office, as partial payment of victim restitution. The defendant also agrees to
relinquish all rights to the $199,878.28 in cash and cashiers checks that the Federal
Bureau of Investigation took custody of on February 12, 2008, with the
understanding that those funds Would, in due course, also be transferred to the
registry of the court. The parties agree that the funds will be credited against the
Court’s restitution order.

9. The defendant understands that under the Sentencing Guidelines, the
Court may order the defendant to pay a fine to reimburse the government for the
costs of any imprisonment or term of supervised release.

lO. The defendant agrees that any fine or restitution imposed by the Court
will be due and payable immediately, and the defendant will not attempt to avoid

or delay payment.

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11.

The defendant agrees to forfeit to the United States of America,

pursuant to 18 U.S.C. § 981(a)(1)(c) and 28 U.S.C. § 2461, $468,714.28 (the

“Forfeiture Judgment”) in full satisfaction of the forfeiture allegation in the

Superseding Information. The defendant’s forfeiture obligation shall be joint and

several with that of his co-conspirators.

a.

12.

The defendant further agrees to waive all constitutional and statutory
challenges in any manner (including direct appeal, habeas corpus, or
any other means) to any forfeiture carried out in accordance with this
Plea Agreement on any grounds, including that the forfeiture
constitutes an excessive fine or punishment The defendant agrees to
take all steps as requested by the United States to pass clear title to
assets to the United States in satisfaction of the Forfeiture Judgment,
and to testify truthfully in any judicial forfeiture proceeding
Defendant acknowledges that the property covered by this Forfeiture
Judgment is subject to forfeiture as proceeds of illegal conduct or
substitute assets for property otherwise subject to forfeiture.

The defendant agrees to consent to the entry of orders of forfeiture for
such property and waives the requirements of Federal Rules of
Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture
in the charging instrument, announcement of the forfeiture at
sentencing and incorporation of the forfeiture in the judgment.
Defendant acknowledges that he understands that the forfeiture of
assets is part of the sentence that may be imposed in this case and
waives any failure by the court to advise him of this, pursuant to Rule
ll(b)(l)(J), at the time his guilty plea is accepted.

Cooperation

The parties understand this agreement carries the potential for a

motion for departure under Section 5K1.1 of the Sentence Guidelines. The

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defendant understands and agrees that whether such a motion is filed will be
determined solely by the United States through the Criminal Division of the United
States Department of Justice. Should the defendant’s cooperation, in the sole
judgment and discretion of the United States, amount to “substantial assistance,”
the United States reserves the sole right to file a motion for departure pursuant to
Section 5K1.1 of the Sentencing Guidelines and Policv Statement. The defendant
further agrees to persist in his plea of guilty through sentencing, fully cooperate
with the United States, not oppose the forfeiture of assets contemplated in
paragraph 11 of this agreement The defendant understands and agrees that the
United States will request that sentencing be deferred until that cooperation is
complete

13. The defendant understands and agrees that “fully cooperate” as used

herein, includes providing all information relating to any criminal activity known
to defendant The defendant understands that such information includes both state
and federal offenses. In that regard:

a. Defendant agrees that this plea agreement binds only the Criminal
Division of the U.S. Department of Justice and defendant; it does not
bind any United States Attorney or any other Division of the
Department of Justice;

b. Defendant agrees to testify truthfully as a witness before a grand jury

or in any other judicial or administrative proceeding when called upon
to do so by the United States. Defendant further agrees to waive his

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Fifth Amendment privilege against self-incrimination for the purpose
of this agreement;

c. Defendant agrees to voluntarily attend any interviews and conferences
as the United States may request;

d. Defendant agrees to provide truthful, complete, and accurate
information and testimony and understands any false statements made
by the defendant to the Grand Jury or at any court proceeding
(criminal or civil), or to a government agent or attorney can and will
be prosecuted under the appropriate perjury, false statement, or
obstruction statutes;

e. Defendant agrees to provide to the United States all documents in his
possession or under his control relating to all areas of inquiry and
investigation;

f. Should the recommended departure, if any, not meet the defendant’s
expectations, the defendant understands he remains bound by the
terms of this agreement and cannot, for that reason alone, withdraw
his plea.

Waiver of Appeal
14. The defendant is aware that Title 18, U.S.C., Section 3742, affords a
defendant the right to appeal the sentence imposed. The defendant agrees to waive
his right to appeal the sentence imposed or the manner in which it was determined,
except that defendant reserves the right to appeal a sentence imposed above the
statutory maximum or an upward departure not requested by the United States.

15. Additionally, the defendant is aware that Title 28, U.S.C., Section

2255, affords the right to contest or “collaterally attack” a conviction or sentence

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after the conviction or sentence has become final. The defendant waives his right
to contest his conviction or sentence by means of any post-conviction proceeding,
and the defendant also waives his right to appeal his conviction.

16. If the defendant instructs his attorney to file a notice of appeal of his
sentence or of his conviction, or if defendant instructs his attorney to file any other
post-conviction proceeding attacking his conviction or sentence, defendant
understands that the United States will seek specific performance of defendant’s
waivers in this plea agreement of defendant’s right to appeal his sentence or
conviction and of defendant’s right to file any post-conviction proceedings
attacking his conviction or sentence.

17. In agreeing to these waivers, the defendant is aware that a sentence
has not yet been determined by the Court, The defendant is also aware that any
estimate of the possible sentencing range under the Sentencing Guidelines that he
may have received from his counsel, from the United States, or from the U.S.
Probation Office is a prediction, not a promise, did not induce his guilty plea, and
is not binding on the United States, the U.S. Probation Office, or the Court, The
United States does not make any promise or representation concerning what
sentence the defendant will receive. Defendant further understands and agrees that

the United States Sentencing Guidelines are “effectively advisory” to the Court.

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United States v. Booker, 543 U.S. 220 (2005). Accordingly, defendant understands

that, although the Court must consult the Sentencing Guidelines and must take

them into account when sentencing defendant, the Court is not bound to follow the

Sentencing Guidelines nor to sentence defendant within the calculated guideline

range.

18.

The defendant understands and agrees that each and all waivers

contained in this plea agreement are made in exchange for the concessions made by

the United States in this plea agreement

19.

The United States of America’s Agreements
The United States agrees to each of the following:

If the defendant pleads guilty to Count One of the Superseding
Inforrnation and persists in that plea through sentencing and if the
Court accepts this plea agreement, the United States will move to
dismiss the previously filed Indictment charging three counts of bulk
cash smuggling 31 U.S.C. § 5332(a)(1), and three counts of failure to
file reports regarding monetary instruments, 31 U.S.C. §§
5316(a)(1)(A), 5 3 16(b), and 5322, and will not prosecute defendant
any further based on the information the United States presently has.

Should the defendant accept responsibility as contemplated by the
U.S. Sentencing Guidelines, the United States agrees not to oppose
defendant’s request to the U.S. Probation Office and to the Court that
defendant receive a two (2) level downward adjustment pursuant to
U.S.S.G. Section 3E1.1(a).

If the defendant qualifies for an adjustment under U.S.S.G. Section
3E1.1(a), and if the offense level determined prior to the operation of
3E1.1(a) is level 16 or greater, the United States agrees not to oppose

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20.

an additional one level downward adjustment for defendant for a
timely plea.

Should the defendant persist in his plea through sentencing, the
United States agrees to recommend to the Court

i. that the defendant did not obstruct justice by his statements to
his company’s internal investigators as contemplated in Section
3C1.1 of the Sentencing Guidelines, and

ii. that the financial loss as contemplated in Section 2B1.1(b)(1) of
the Sentencing Guidelines be based on the total amount
embezzled from ABB NM, $468,714.28.

United States of America’s Non-Waiver of Appeal

Notwithstanding paragraph 19 above, the United States reserves the

right to carry out its responsibilities under the United States Sentencing Guidelines.

Specifically, the United States reserves the right:

a.

to bring its version of the facts of this case, including its evidence file
and any investigative files, to the attention of the U.S. Probation
Office in connection with that office’s preparation of a presentence
report;

to set forth or dispute sentencing factors or facts material to
sentencing;

to seek resolution of such factors or facts in conference with
defendant’s counsel and the U.S. Probation Office;

to file a pleading relating to these issues, in accordance with U.S.S.G.
Section 6A1.2 and with Title 18, U.S.C. Section 3553(a); and,

to appeal the sentence imposed or the manner in which it was
determined,

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Sentence Determination

21. The defendant is aware that the sentence will be imposed after the
Court’s consideration of the United States Sentencing Guidelines and Policy
Statements, which are only advisory, as well as the provisions of Title 18, U.S.C.
Section 3553(a). Defendant nonetheless acknowledges and agrees that the Court
has authority to impose any sentence up to and including the statutory maximum
set for the offense to which defendant pleads guilty and that the sentence to be
imposed is within the sole discretion of the sentencing judge after the Court has
consulted the applicable U.S. Sentencing Guidelines. Defendant understands and
agrees that the parties’ positions regarding the application of the U.S. Sentencing
Guidelines do not bind the Court and that the sentence imposed is within the
discretion of the sentencing judge. If the Court should impose any sentence up to
the maximum established by statute, or should the Court order any or all of the
sentences imposed to run consecutively, defendant cannot, for that reason alone,
withdraw a guilty plea and will remain bound to fulfill all of his obligations under
this plea agreement

Rights at Trial
22. The defendant represents to the Court that he is satisfied that his

attorneys have rendered effective assistance Defendant understands that by

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entering into this agreement he surrenders certain rights as provided in this plea

agreement Defendant understands that the rights of a defendant include the

following:

a.

23.

If defendant persisted in a plea of not guilty to the charges, defendant
would have the right to a speedy jury trial with the assistance of
counsel. The trial may be conducted by a judge sitting without a jury
if the defendant, the United States, and the court all agree.

At a trial, the United States would be required to present witnesses
and other evidence against the defendant Defendant would have the
opportunity to confront those witnesses and his attorneys would be
allowed to cross-examine them. In turn, the defendant could, but
would not be required to, present witnesses and other evidence on his
own behalf. If the witnesses for defendant would not appear
voluntarily, he could require their attendance through the subpoena
power of the court

At a trial, defendant could rely on a privilege against self-
incrimination and decline to testify, and no inference of guilt could be
drawn from such refusal to testify. However, if the defendant desired

k to do so, he could testify on his own behalf.

Factual Basis for Guilty Plea

The defendant is pleading guilty because he i_s guilty of the charge

contained in Count One of the Superseding Information. If this case were to

proceed to trial, the United States could prove each element of the offense beyond

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a reasonable doubt The following facts, among others would be offered to

establish the defendant’s guilt:

a.

Between approximately October 2001 and March 2004, the defendant
and his supervisor, the ABB NM General Manager (“General
Manager”), embezzled from their employer approximately
$468,714.28. The defendant kept approximately $234,357.14, and the
General Manager received the other half of the proceeds. The
defendant held approximately 8199,878.28 of his portion of the
embezzled funds in cash and cashiers checks, which he has voluntarily
relinquished to the government

The defendant was employed by ABB Network Management (“ABB
NM”), a component of ABB, Inc. that was located in Sugar Land,
Texas. ABB NM’s business was to provide products and services to
electrical utilities for network management in power generation,
transmission, distribution, and consumption. The defendant was a
project manager on several ABB NM projects that provided hardware,
software, and services to foreign governmental utilities. Two of the
defendant’s projects were the ITAIPU project in Brazil, and the
ADCO project in the United Arab Emirates (UAE). The defendant
was supervised on these projects primarily by the General Manager.

The General Manager and the defendant conspired to steal funds
generated by the ITAIPU and ADCO projects by pretending that the
defendant needed cash and personal checks from ABB NM to pay for
various “local works,” “subcontractor fees,” “local field support,”
“consulting resources,” and “commissions” in Brazil and the UAE.
Together, the General Manager and the defendant falsely corroborated
the purported use of the funds by timing the requests to correspond
with the defendant’s travels to Brazil and the UAE, documenting the
requests and approvals of the funds through emails and manual check
requests, and telling others at ABB NM that the funds were to be
taken abroad for these purposes.

With respect to the ADCO project, the defendant, at the request of the
General Manager, agreed to steal funds generated from two ADCO

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payments to ABB NM. With respect to the ITAIPU project, the
defendant and the ABB NM General Manager realized that ABB NM
was due funds under a provision of the ITAIPU contract that allowed
for the readjustment of invoices to account for inflation. Bypassing
normal procedures, the defendant personally created and sent invoices
pursuant to the readjustment clause and used a different account
number on the invoices than the usual bank account for incoming
ITAIPU funds to further conceal the embezzlement

e. The defendant received the requested cash and checks and provided
the General Manager with approximately half of the funds in cash.
The defendant personally retained the ABB NM checks he
fraudulently obtained, which he converted to cashier’s checks at his
bank, and kept enough cash to equal his one-half share of the
embezzled money. He held most of his share of the embezzled funds
in a desk drawer or a safety deposit box, but also deposited at least
$31,900 in cash into his checking account

f. When questioned by the company’s internal investigators about the
cash, checks, emails, and manual check requests, the defendant falsely
stated that the cash and checks were used to pay foreign government

officials at ITAIPU and ADCO to obtain or retain business for ABB
NM.

Breach of Plea Agreement
24. If the defendant should fail in any way to fulfill completely all of the
obligations under this plea agreement, the United States will be released from its
obligations under the plea agreement and the defendant’s plea and sentence will

stand. If at any time defendant retains, conceals, or disposes of assets in violation

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of this plea agreement or if defendant knowingly withholds evidence or is
otherwise not completely truthful with the United States, then the United States
may move the Court to set aside defendant’s guilty plea and reinstate the
prosecution. Any information and documents that have been disclosed by
defendant, whether prior to or subsequent to this plea agreement and all leads
derived therefrom, will be used against defendant in any prosecution.

25. Whether the defendant has breached any provision of this plea
agreement shall be determined solely by the United States through the Criminal
Division of the United States Department of Justice, whose judgment in that regard
is final.

Complete Agreement

26. This written plea agreement, consisting of 19 pages, including the
attached addendum of the defendant and his attorneys, constitutes the complete
plea agreement between the United States, defendant, and his counsel. No
promises or representations have been made by the United States except as set
forth in writing in this plea agreement Defendant acknowledges that no threats
have been made against him and that he is pleading guilty freely and voluntarily
because he is guilty.

27. Any modification of this plea agreement must be in writing and

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signed by all parties.

Filed at Houston, Texas, on this $7 ___day ofA`pT'rl, 2008 é/J//)

J'¢/M

 

At Hoziabn 11
Defendant
l ~MML
Subscribed and sworn to before me on this /L_} day Of . , 2008.

MICHAEL N. MILBY, Clerk
UNITED STATES DISTRICT CLERK

By=`¢C/Q/QXA/

 

 

Deputy United dates District Clerk

APPROVED:

STEVEN A. TYRRELL, CHIEF
MARK F. MENDELSOHN,
DEPUTY CHIEF

FRAUD SECTION

CRIMINAL DIVISION

U. S. DEPARTMENT OF JUSTICE

%J¢W<

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA, §
Plaintiff, §
v. § CRIMINAL NO. H-07-452
§
ALI HOZHABRI, §
Defendant

PLEA AGREEMENT - ADDENDUM

I have fully explained to defendant his rights with respect to the pending
Superseding Information. 1 have reviewed the provisions of the United States
Sentencing Commission’s Guidelines Manual and Policy Statements, and 1 have
fully and carefully explained to defendant the provisions of those Guidelines which
may apply in this case. 1 have also explained to defendant that the U.S. Sentencing
Guidelines are only advisory and the court may sentence defendant up to the
maximum allowed by statute per count of conviction. Further, 1 have carefully
reviewed every part of this plea agreement with defendant To my knowledge,

defendant’s decision to enter into this agreement is an informed and voluntary one.

¢-QZ-JY

 

 

Phili§‘H. Haaei/ Date
Attorney for Defendant

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1 have consulted with my attorney and fully understand all my rights With
respect to the indictment pending against me. My attorney has fillly explained and
1 understand all my rights with respect to the provisions of the United States
Sentencing Commission’s Guidelines Manual which may apply in my case. 1 have
read and carefully reviewed every part of this plea agreement with my attorneys. 1

understand this agreement and 1 voluntarily agree to its terms.

7;3//(/f z §-13`» 5’{

Ali Hozhabri Date
Defendant

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